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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


NANCY FREDERIQUE,

      Plaintiff,

v.                                          CASE NO.:

WAL-MART ASSOCIATES, INC.,

    Defendant.
______________________/

              COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, NANCY FREDERIQUE, by and through undersigned counsel,

brings this action against Defendant, WAL-MART ASSOCIATES, INC., and in

support of her claims states as follows:

                        JURISDICTION AND VENUE

      1.     This is an action for violations of the Family and Medical Leave Act

of 1993, as amended, 29 U.S.C. § 2601 et seq. (“FMLA”).

      2.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331

and 29 U.S.C. § 2601 et seq.

      3.     Venue is proper in the Middle District of Florida, because all of the

events giving rise to these claims occurred in Osceola County, Florida.

                                    PARTIES

      4.     Plaintiff is a resident of Osceola County, Florida, and she worked in

Osceola County for Defendant.
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        5.    Defendant operates a supermarket in Osceola County, Florida.

                            GENERAL ALLEGATIONS

        6.    This is an action to recover damages suffered by Plaintiff while

employed by Defendant, when Defendant interfered with Plaintiff’s rights under

the FMLA and retaliated against Plaintiff for exercising these same rights.

        7.    At the time of these events, Plaintiff was an employee of Defendant,

and she worked at least 1250 hours in the 12 months preceding her request for

leave under the FMLA.

        8.    Thus, Plaintiff is an “eligible employee” within the meaning of the

FMLA, 29 U.S.C. § 2611(2).

        9.    Defendant is an “employer” within the meaning of the FMLA, 29

U.S.C. § 2611(4).

        10.   Plaintiff has satisfied all conditions precedent, or they have been

waived.

        11.   Plaintiff has retained the undersigned attorneys and agreed to pay

them a fee.

        12.   Plaintiff requests a jury trial for all issues so triable.

                                         FACTS

        13.   Plaintiff began working for Defendant on or around October 15,

2013.




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      14.    On or around December 27, 2020, Plaintiff suffered from a medical

condition that qualified as a serious health condition within the meaning of the

FMLA.

      15.     Plaintiff submitted proper medical documentation to Defendant in

support of her FMLA leave request to care for herself.

      16.    On or about February 15, 2021, Plaintiff’s employment was

terminated for excessive absences from work that should have been protected by

the FMLA.

      17.    Plaintiff exercised her rights under the FMLA by requesting and

utilizing FMLA leave.

      18.    By terminating Plaintiff's employment, Defendant violated Plaintiff’s

rights under the FMLA.

                     COUNT I – FMLA INTERFERENCE

      19.    Plaintiff realleges and readopts the allegations of paragraphs 1

through 18 of this Complaint, as fully set forth herein.

      20.    Plaintiff required time off from work to care for herself, because she

suffered from a serious health condition within the meaning of the FMLA,

requiring leave protected under the FMLA.

      21.    By terminating Plaintiff's employment for       her FMLA protected

absences from work, Defendant interfered with Plaintiff’s FMLA rights, in

violation of 29 U.S.C. §§ 2614(a)(1)(A) and 2615(a)(2).

      22.    Defendant’s actions were willful and done with malice.

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      23.    Plaintiff was injured due to Defendant’s violations of the FMLA, for

which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

             (a)    That this Court enter a judgment that Defendant interfered

                    with Plaintiff’s rights in violation of the FMLA;

             (b)    An injunction restraining continued violation of the FMLA by

                    Defendant;

             (c)    Compensation       for   lost   wages,    benefits,   and   other

                    remuneration;

             (d)    Reinstatement of Plaintiff to a position comparable to

                    Plaintiff’s prior position with back pay plus interest, pension

                    rights and all benefits, or, in the alternative, the entry of a

                    judgment under 29 U.S.C. § 2617(a)(1)(A)(i)(II), against

                    Defendant and in favor of Plaintiff, for the monetary losses

                    that Plaintiff suffered as a direct result of Defendant’s

                    violations of the FMLA;

             (e)    Front pay;

             (f)    Liquidated Damages;

             (g)    Prejudgment interest on all monetary recovery obtained;

             (h)    All costs and attorney’s fees incurred in prosecuting these

                    claims; and

             (i)    For such further relief as this Court deems just and equitable.

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                       COUNT II – FMLA RETALIATION

      24.    Plaintiff realleges and readopts the allegations set forth in

Paragraphs 1 through 18 of this Complaint, as fully set forth herein.

      25.    Plaintiff required time off from work to care for herself, because she

suffered from a serious health condition within the meaning of the FMLA,

requiring leave protected under the FMLA.

      26.    Plaintiff engaged in protected activity under the FMLA by exercising

and/or attempting to exercise her FMLA rights.

      27.    Defendant retaliated against Plaintiff for engaging in protected

activity under the FMLA by terminating her employment.

      28.    Defendant’s actions were willful and done with malice.

      29.    Plaintiff was injured by Defendant’s violations of the FMLA, for

which Plaintiff is entitled to legal and injunctive relief.

      WHEREFORE, Plaintiff demands:

             (a)    That this Court enter a judgment that Defendant retaliated

                    against Plaintiff in violation of the FMLA;

             (b)    An injunction restraining continued violation of the FMLA by

                    Defendant ;

             (c)    Compensation       for   lost   wages,    benefits,   and   other

                    remuneration;

             (d)    Reinstatement of Plaintiff to a position comparable to

                    Plaintiff’s prior position with back pay plus interest, pension

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                 rights and all benefits or, in the alternative, entry of a

                 judgment under 29 U.S.C. § 2617(a)(1)(A)(i)(II), against

                 Defendant and in favor of Plaintiff, for the monetary losses

                 Plaintiff suffered as a direct result of Defendant’s violations of

                 the FMLA;

          (e)    Front pay;

          (f)    Liquidated Damages;

          (g)    Prejudgment interest on all monetary recovery obtained;

          (h)    All costs and attorney’s fees incurred in prosecuting these

                 claims; and

          (i)    For such further relief as this Court deems just and equitable.

                          JURY TRIAL DEMAND

    Plaintiff demands trial by jury as to all issues so triable.

    Dated this 17th day of June, 2021.

                                      Respectfully submitted,



                                      _______________________
                                      LUIS A. CABASSA
                                      Florida Bar Number: 0053643
                                      WENZEL FENTON CABASSA, P.A.
                                      1110 N. Florida Avenue, Suite 300
                                      Tampa, Florida 33602
                                      Main Number: 813-224-0431
                                      Direct Dial: (813) 379-2565
                                      Facsimile: 813-229-8712
                                      Email: lcabassa@wfclaw.com
                                      Email: gnichols@wfclaw.com
                                      Attorneys for Plaintiff
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